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                                UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF PENNSYLVANIA
--------------------------------------------------
                                                   :
FRANKY MILLS                                       :
3795 Old William Penn Hwy.                         : Civil Action No.:
Monroeville, PA 15668                              :
                                                   :
                          Plaintiff,               : JURY TRIAL OF TWELVE (12) JURORS
                     v.                            : DEMANDED
                                                   :
CITY OF PHILADELPHIA d/b/a                         :
CURRAN-FROMHOLD                                    :
CORRECTIONAL                                       :
FACILITY,
7901 State Rd.
                                                   :
Philadelphia, PA 19136                             :
                                                   :
and                                                :
                                                   :
BLANCHE CARNEY,                                    :
Individually and in her official capacity          :
as Commissioner                                    :
Curran-Fromhold Correctional Facility              :
7901 State Rd.                                     :
Philadelphia, PA 19136                             :
                                                   :
and                                                :
                                                   :
MICHELE FARRELL,                                   :
Individually and in her official capacity          :
as Warden                                          :
Curran-Fromhold Correctional Facility              :
7901 State Rd.                                     :
Philadelphia, PA 19136
                                                   :
                                                   :
and
                                                   :
TERRENCE CLARK,                                    :
Individually and in his official capacity          :
as Deputy Commissioner                             :
Curran-Fromhold Correctional Facility              :
7901 State Rd.                                     :
Philadelphia, PA 19136                             :
                                                   :
and                                                :
                                                   :
                                                   :
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 EDWIN CRUZ,                                            :
 Individually and in his official capacity              :
 as Deputy Warden CFCF Operations                       :
 Curran-Fromhold Correctional Facility                  :
 7901 State Rd.                                         :
 Philadelphia, PA 19136                                 :
                                                        :
 and                                                    :
                                                        :
 ROBERT ROSE,                                           :
 Individually and in his official capacity              :
 as Deputy Warden CFCF Operations                       :
 Curran-Fromhold Correctional Facility                  :
 7901 State Rd.                                         :
 Philadelphia, PA 19136                                 :
                                                        :
 and                                                    :
                                                        :
 JOHN DOES 1-10,                                        :
                                                        :
                      Defendants.
-----------------------------------------------------

                                        CIVIL ACTION COMPLAINT


1. Plaintiff, Franky Mills, is an adult individual, residing at the above-captioned address. At all

    times material, Plaintiff was in the custody of the Pennsylvania Department of Corrections at

    Curran-Fromhold Correctional Facility (“CFCF”). At all times material, Plaintiff was

    incarcerated at CFCF.

2. Defendant, Curran-Fromhold Correctional Facility (CFCF), is a correctional facility, housing

    approximately 2,000 males and is part of the Philadelphia Department of Prisons. CFCF is

    operated by the City of Philadelphia and is headquartered at the above-captioned address.

3. Defendant, Blanche Carney (“Carney”), at all times material herein, acted individually, as

    well as in her individual capacity as an agent, servant, workman, or employee of CFCF,

    acting under color of State law.

4. Defendant, Blanche Carney (“Carney”), at all times material herein, acted individually, as
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   well as in her individual capacity as an agent, servant, workman, or employee of CFCF,

   acting under color of State law.

5. Defendant, Michele Farell (“Farrell”), at all times material herein, acted individually, as well

   as in her individual capacity as an agent, servant, workman, or employee of CFCF, acting

   under color of State law.

6. Defendant, Terrence Clark (“Clark”), at all times material herein, acted individually, as well

   as in his individual capacity as an agent, servant, workman, or employee of CFCF, acting

   under color of State law.

7. Defendant, Edwin Cruz (“Cruz”), at all times material herein, acted individually, as well as in

   his individual capacity as an agent, servant, workman, or employee of CFCF, acting under

   color of State law.

8. Defendant, Robert Rose (“Rose”), at all times material herein, acted individually, as well as

   in his individual capacity as an agent, servant, workman, or employee of CFCF, acting under

   color of State law.

9. Defendants, John Does 1-10, is a moniker/fictitious name for individuals and entities

   currently unknown but will be substituted when known, as affiliated, associated or liable

   hereunder for the reasons set forth below or inferred therefrom. Each of these parties are

   incorporated as Defendants in each and every count and averment listed above and below.

                                      JURISDICTION AND VENUE

   10. The above paragraphs are incorporated herein by reference.

   11. Jurisdiction in this Honorable Court is based on federal question 28 U.S.C. §1331;

       supplemental jurisdiction over state law claims is granted by 28 U.S.C. §1367.
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12. Venue is proper in the District of Pennsylvania, as the facts and transactions involved

   herein occurred in large part in this judicial district in Philadelphia County.

                                 STATEMENT OF FACTS

13. The above paragraphs are incorporated herein by reference.

14. Plaintiff was incarcerated in CFCF from in or around November 2020 through April

   2021.

15. For approximately one month of his incarceration, from in or around November 2020

   until December 2020, without reason, Plaintiff was subjected to barbaric and inhumane

   treatment. This treatment included but is not limited to:

       a. Not being allowed to leave his cell.

       b. Not given single shower.

       c. Not given a toothbrush.

       d. Not being allowed to remove the trash from his cell, causing food trays, and other

           trash to accumulate. This caused leftover food began to spoil and smell.

       e. Not being allowed to change his sheets.

       f. Not being able to exchange his jumper for a clean one.

       g. Not being allowed to receive or make any phone calls.

16. While Plaintiff asked numerous times for a shower, toothbrush, trash removal, clean

   sheets and a clean jump suit, his requests were always denied.

17. Plaintiff was eventually moved to a new section called a “cell multi”. This section

   consisted of multiple people inmates placed into one large room which was considered a

   cell.
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   18. Upon information and belief, Defendants Carney, Farrell, Clark, Cruz and Rose knew or

       should have known about the deplorable treatment of Plaintiff and should have done

       something about it.

   19. Plaintiff has suffered and continues to suffer severe physical and psychological stress as a

       result of Defendants’ egregious conduct.

                              COUNT I.
       EIGTH AMENDMENT VIOLATION- CRUEL AND UNUSUAL PUNISHMENT

   20. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length

       herein.

   21. Defendant failed to provide Plaintiff with a toothbrush, cleans sheets and jumpers, as well

       as, neglected garbage removal. Defendant also failed to provide Plaintiff the ability to

       make any phone calls while incarcerated.

   22. Defendant’s actions stated above, inter alia, were violations of Plaintiff’s clearly

       establish and well settled Constitutional and other legal rights.

   23. Defendant caused Plaintiff to suffer cruel and unusual punishment in violation of the

       Eighth Amendment of the United States Constitution, actionable through 42 U.S.C.

       §1983, et seq.


   WHEREFORE, Plaintiff demands judgment in his favor and against Defendant

individually, jointly and/or severally, in an amount in excess of Seventy-Five Thousand

($75,000.00) Dollars, together with interest, costs, punitive damages, attorney’s fees and such

other and further relief as this Honorable Court deems just, including equitable injunctive relief.
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Respectfully Submitted,


WEISBERG LAW                                   SCHAFKOPF LAW
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